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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
In re PLATINUM-BEECHWOOD LITIGATION                                     18 CIVIL 6658 (JSR)
------------------------------------------------------------X
SENIOR HEALTH INSURANCE COMPANY
OF PENNSYLVANIA,
                                    Plaintiff,                          19 CIVIL 7137 (JSR)

                 -against-                                                 JUDGMENT

LINCOLN INTERNATIONAL LLC, et al.,
                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated April 10, 2020, the Court holds that Lincoln did

not substantially assist Beechwood’s primary breach of fiduciary duty and fraud committed

against SHIP; accordingly, summary judgment is granted in favor of defendants on the aiding

and abetting claims and the Amended Complaint is dismissed in its entirety, and case number 19-

cv-7137 is closed.


Dated: New York, New York
       April 13, 2020



                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
